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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA



ISAAC JESUS MEDINA ESPINOSA,                        No. 1:19-cv-00345-ADA-CDB (PC)

              Plaintiff,                            ORDER & WRIT OF HABEAS CORPUS
                                                    AD TESTIFICANDUM
       v.
                                                    RE: ISAAC JESUS MEDINA ESPINOSA
KERNAN, et al.,                                     CDCR # X-02413 - VIDEOCONFERENCE

              Defendants.                           DATE: October 16, 2023
                                             /      TIME: 10:00 a.m.

       Isaac Jesus Medina Espinosa, CDCR #X-02413, a necessary and material witness in a
settlement conference in this case on October 16, 2023, is confined in the Central California
Women’s Facility (CCWF), in the custody of the Warden. In order to secure this inmate’s
attendance, it is necessary that a Writ of Habeas Corpus Ad Testificandum issue commanding the
custodian to produce the inmate before Magistrate Judge Christopher D. Baker, by Zoom video
conference from his place of confinement, on Monday, October 16, 2023 at 10:00 a.m.

                              ACCORDINGLY, IT IS ORDERED:

   1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
      commanding the Warden to produce the inmate named above, by Zoom video conference,
      to participate in a settlement conference at the time and place above, until completion of
      the settlement conference or as ordered by the court. Zoom video conference connection
      information will be supplied via separate email.

   2. The custodian is ordered to notify the court of any change in custody of this inmate and is
      ordered to provide the new custodian with a copy of this writ.

   3. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
      Office at the Central California Women’s Facility at (559) 665-6020 or via email.

   4. Any difficulties connecting to the Zoom video conference shall immediately be reported
      to Susan Hall, Courtroom Deputy, at shall@caed.uscourts.gov.

                   WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, CCWF, P. O. Box 1501, Chowchilla, California 93610:

         WE COMMAND you to produce the inmate named above to testify before Judge Baker
at the time and place above, by Zoom video conference, until completion of the settlement
conference or as ordered by the court.
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       FURTHER, you have been ordered to notify the court of any change in custody of the
inmate and have been ordered to provide the new custodian with a copy of this writ.


IT IS SO ORDERED.

    Dated:   September 1, 2023                       ___________________
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                                              UNITED STATES MAGISTRATE JUDGE
